Filed 8/23/24 Harper v. JAMS CA2/4
            NOT TO BE PUBLISHED IN THE OFFICIAL REPORTS

California Rules of Court, rule 8.1115(a), prohibits courts and parties from citing or relying on opinions not certified for
publication or ordered published, except as specified by rule 8.1115(b). This opinion has not been certified for publication
or ordered published for purposes of rule 8.1115.


         IN THE COURT OF APPEAL OF THE STATE OF CALIFORNIA

                                  SECOND APPELLATE DISTRICT

                                                DIVISION FOUR


 RYAN HARPER,                                                           B326854

           Plaintiff and Appellant,                                     (Los Angeles County
                                                                         Super. Ct. No. 22STCV09029)
           v.

 JAMS, INC. et al.,

           Defendants and Respondents.


         APPEAL from a judgment of the Superior Court of Los Angeles County,
Upinder S. Kalra, Judge. Affirmed.
         Ryan Harper, in pro. per., for Plaintiff and Appellant.
         Long &amp; Levit and Jessica R. MacGregor for Defendants and
Respondents.
                              INTRODUCTION
      Plaintiff Ryan Harper (Harper), in pro. per., appeals from a judgment
of dismissal following the trial court’s order sustaining a demurrer without
leave to amend brought by defendants JAMS, Inc. and arbitrator, Stephen E.
Haberfeld (collectively, defendants). The court found that Harper’s claims
against defendants were barred by the doctrine of arbitral immunity. We
affirm the order.


             FACTUAL AND PROCEDURAL BACKGROUND
      Harper’s operative pleading is the first amended complaint. We set
forth the facts in accordance with the standard governing demurrers: we
assume the truth of all well-pleaded facts and accept as true all facts that
may be implied or inferred from the facts alleged. (La Serena Properties, LLC
v. Weisbach (2010) 186 Cal.App.4th 893, 897 (La Serena Properties, LLC).)
Also, we consider matters that are properly the subject of judicial notice and
were considered by the trial court. (Ibid.)
      In May 2015, the trial court compelled Harper to arbitrate a dispute
arising out of his investment in a limited liability company (LLC). The
court’s order was based on an arbitration provision contained in the operating
agreement signed by the parties. In September 2015, Haberfeld, a retired
judicial officer, was appointed as the arbitrator in the matter. Harper later
amended his complaint in the trial court naming additional defendants, both
of whom were then included in the pending arbitration. At one point, the
matter was stayed for approximately a year pending Harper’s payment of his
arbitration fees.
      After Harper paid the fees, the stay was lifted. On November 7, 2018,
Haberfeld issued a merits order, finding that Harper’s claims were time-


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barred. On February 1, 2019, Haberfeld denied Harper’s motion for
reconsideration and a motion to terminate the arbitration proceedings in his
favor. However, upon Harper’s request, Haberfeld granted him leave to
amend his claims in January 2019. On February 15, 2019, Harper filed his
amended claims. Over Harper’s objection, a four-day hearing on the
amended claims was held in July 2019. On October 23, 2019, the trial court
denied Harper’s motions seeking an order requiring the opposing parties to
pay his share of the arbitration fees.
      On November 5, 2019, Haberfeld issued a comprehensive interim
award. Due to Harper’s inability to pay for fees, Haberfeld ordered the
opposing parties to pay “all existing and pending costs required to finalize the
interim award.” On March 13, 2020, Haberfeld issued a final award in favor
of the opposing parties. On September 15, 2020, Harper filed a motion to
vacate the award in the trial court on the grounds: (1) the matter should
never have been sent to JAMS because the arbitration agreement designated
a different provider and JAMS was neither cost effective nor speedy as
advertised; (2) the arbitration award was procured by fraud; (3) his rights
were prejudiced by Haberfeld’s refusal to postpone a merits hearing and to
permit live expert witness testimony, as well as his bias against Harper; and
(4) Haberfeld exceeded his contractual duties. The court denied the motion to
vacate and confirmed the final award.
      On July 8, 2022, Harper filed the operative complaint asserting ten
causes of action against defendants: fraud by concealment; fraud by
intentional misrepresentation; negligence; violation of the California Unfair
Competition Law; violation of California’s Consumer Legal Remedies Act;
violation of California’s False Advertising Law; civil extortion; breach of
contract; intentional infliction of emotional distress; and injunction. The


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gravamen of the complaint was Harper’s dissatisfaction with the underlying
arbitration. The complaint alleged various misrepresentations and
fraudulent conduct by defendants. Defendants demurred to the operative
complaint on several grounds, including that Harper’s claims were barred by
the doctrine of arbitral immunity. Adopting that reasoning, the trial court
sustained the demurrer to the entire complaint without leave to amend.
        Harper timely appealed.


                                  DISCUSSION
   I.      Standard of Review
        “‘[T]he most fundamental rule of appellate law is that the judgment
challenged on appeal is presumed correct, and it is the appellant’s burden to
affirmatively demonstrate error.’ [Citation.]” (Ruelas v. Superior Court
(2015) 235 Cal.App.4th 374, 383; accord, In re Marriage of Arceneaux (1990)
51 Cal.3d 1130, 1133.) The fact that an appellant is self-represented does not
alter this “most fundamental rule of appellate law.” (People v. Sanghera
(2006) 139 Cal.App.4th 1567, 1573; see Rappleyea v. Campbell (1994) 8
Cal.4th 975, 984–985 [“[M]ere self-representation is not a ground for
exceptionally lenient treatment. . . . [T]he rules of civil procedure must apply
equally to parties represented by counsel and those who forgo attorney
representation”].)
        A demurrer tests the legal sufficiency of the factual allegations in a
complaint. (Title Ins. Co. v. Comerica Bank–California (1994) 27 Cal.App.4th
800, 807.) We review de novo the dismissal of a civil action after a demurrer
is sustained without leave to amend. (Cantu v. Resolution Trust Corp. (1992)
4 Cal.App.4th 857, 879.) “Although a general demurrer does not ordinarily
reach affirmative defenses, it ‘will lie where the complaint “has included


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allegations that clearly disclose some defense or bar to recovery.”’ [Citations.]
‘Thus, a demurrer based on an affirmative defense will be sustained only
where the face of the complaint discloses that the action is necessarily barred
by the defense.’” (Ivanoff v. Bank of America, N.A. (2017) 9 Cal.App.5th 719,
726.) “‘We treat the demurrer as admitting all material facts properly
pleaded, but not contentions, deductions or conclusions of fact or law.’”
(Blank v. Kirwan (1985) 39 Cal.3d 311, 318.) “Further, we give the complaint
a reasonable interpretation, reading it as a whole and its parts in their
context.” (Ibid.)
         We review an order denying leave to amend for an abuse of discretion.
“If we find that an amendment could cure the defect, we conclude that the
trial court abused its discretion and we reverse; if not, no abuse of discretion
has occurred.” (Schifando v. City of Los Angeles (2003) 31 Cal.4th 1074,
1081.) The appellant bears the burden of demonstrating the manner in
which the complaint might be amended. (Ventura29 LLC v. City of San
Buenaventura (2023) 87 Cal.App.5th 1028, 1037; Blank v. Kirwan, supra, 39
Cal.3d at p. 318.)


   II.     Analysis
         Harper challenges the application of the doctrine of arbitral immunity
to his operative complaint.
         Arbitral immunity protects both arbitrators and the organizations that
sponsor arbitrations, such as JAMS, from civil liability for conduct in their
quasi-judicial capacity. (Morgan Phillips, Inc. v. JAMS/Endispute, L.L.C.
(2006) 140 Cal.App.4th 795, 800; American Arbitration Assn. v. Superior
Court (1992) 8 Cal.App.4th 1131, 1134. ) “The purpose of arbitral immunity
is to encourage fair and independent decisionmaking by immunizing


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arbitrators from lawsuits arising from conduct in their decisionmaking role.
[Citations.] Thus, generally speaking, arbitral immunity ‘shields all
functions which are “integrally related to the arbitral process.” [Citations.]’”
(Morgan Phillips, Inc. v. JAMS/Endispute, L.L.C., supra, at pp. 800–801.)
        Here, Harper fails to carry his burden on appeal. The opening brief
contains only a conclusory argument regarding the trial court’s alleged error
in sustaining the demurrer. He contends arbitral immunity does not apply
because the operative complaint pertains to defendants’ “commercial
misconduct,” including fraudulent business practices and misrepresentations,
which precede the decisionmaking process. However, Harper does not
identify any specific complaint allegations that support his assertion in the
briefing. (See Rossberg v. Bank of America, N.A. (2013) 219 Cal.App.4th
1481, 1502; Sui v. Price (2011) 196 Cal.App.4th 933, 938 [“The plaintiff ‘bears
the burden of demonstrating that the trial court erroneously sustained the
demurrer as a matter of law’”].) Moreover, the opening brief is almost
entirely devoid of any citation to the record, and most importantly, any
citation to the factual allegations in the operative complaint. (Cal. Rules of
Court, rule 8.204(a)(1)(C); Bernard v. Hartford Fire Ins. Co. (1991) 226
Cal.App.3d 1203, 1205 [“It is the duty of a party to support the arguments in
its briefs by appropriate reference to the record, which includes providing
exact page citations”].) When “a party fails to support an argument with the
necessary citations to the record, . . . the argument [is] deemed to have been
waived.” (Duarte v. Chino Community Hospital (1999) 72 Cal.App.4th 849,
856.)
        That said, we conclude there is no merit to Harper’s contention that
arbitral immunity does not apply to defendants’ commercial conduct. In La
Serena Properties, LLC, supra, the appellate court extended arbitral


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immunity to conduct “before the decisionmaking process began” and to false
advertising claims. (186 Cal.App.4th at p. 905.) In spite of his attempts to
misconstrue the relevant case law, Harper has not cited any authority to the
contrary. Harper also has not demonstrated how he would amend his
complaint to avoid arbitral immunity. Therefore, we conclude the court was
acting within its discretion in denying leave to amend.


                               DISPOSITION
      The judgment is affirmed.
      NOT TO BE PUBLISHED IN THE OFFICIAL REPORTS




                                          ZUKIN, J.

      WE CONCUR:



      COLLINS, Acting P. J.



      MORI, J.




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